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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA


ANTOINETTE SUCHENKO,
                                                      No. 2:18-cv-00562-AJS
              Plaintiff,
vs.                                                   LEAD CASE

ECCO USA, INC.,

              Defendant.


ANTOINETTE SUCHENKO,
                                                      No. 2:18-cv-00603-AJS
              Plaintiff,
vs.                                                   MEMBER CASE

TEMPUR-PEDIC NORTH AMERICA, LLC,

              Defendant.


                                 NOTICE OF SETTLEMENT

       COMES NOW Plaintiff, Antoinette Suchenko, by and through her undersigned counsel,

hereby advises this Honorable Court of the settlement of this action. The parties are finalizing

settlement and dismissal documents, and expect to file the dismissal papers within thirty (30) days.



Dated: July 31, 2018                                 Respectfully Submitted,

                                                     /s/ Kevin W. Tucker
                                                     Kevin W. Tucker
                                                     Benjamin J. Sweet
                                                     CARLSON LYNCH SWEET KILPELA
                                                     & CARPENTER, LLP
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served upon

all counsel of record via the Court’s electronic filing system on July 31, 2018.


                                              /s/ Kevin W. Tucker
                                              Kevin W. Tucker
